Case.net: 21SN-CC00077 - Docket Entries                                                https://www.courts.mo.govicasenet/cases/searchDockets.do




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                           21SN-CC00077 - SHELLEY BRYANT V WAL-MART STORES EAST LP ET
                                                    AL(E-CASE)
            rasA       Parties & Docket Charges, Judgments I Service    Filings         Scheduled            Civil  Garn shmentsf 1
           FV alrIne VItfilkiereys Entries & Sentences      Information   Due         Hearings & Trials   Judgments   Execution

        Click here to eFile on Case                 Sort Date Entries: (i!) Descending            Display Options: All Entries
        Click here to Respond to Selected Documents                    0 Ascending


         07/22/2021       El Notice of Service
                             Summons Return 21-SMCC-479; Electronic Filing Certificate of Service.
                          D Corporation Served
                            Document ID - 21-SMCC-479; Served To - WAL-MART STORES EAST, LP; Server - SO ST LOUIS
                            COUNTY-CLAYTON; Served Date - 21-JUL-21; Served Time - 09:00:00; Service Type - Sheriff
                            Department; Reason Description - Served; Service Text - Served to LCW- D. Garcia, Intake Specialist

         07/12/2021       0 Alias Summons Issued
                            Document ID: 21-SMCC-479, for WAL-MART STORES EAST, LP. SUMMONS ATTACHED IN PDF
                            FORM FOR ATTORNEY TO RETRIEVE FROM SECURE CASE NET AND ATTACH COPY OF
                            PETITION FOR SERVICE BY SHERIFF.

         07/06/2021       LI Notice of Service
                             Out of Time Summons. 21-SMCC-284
                               Filed By: TOM ALBERT KAPSTROM
                               On Behalf Of: SHELLEY BRYANT
                          D Sum mons Returned Non-Est
                            Document ID - 21-SMCC-284; Served To - WAL-MART STORES EAST, LP; Server - ; Served Date -
                            06-JUL-21; Served Time - 00:00:00; Service Type - Sheriff Department; Reason Description - Non-est;
                            Service Text - Summons returned NON-EST, Out of Time

         07/02/2021       U Judge/Clerk - Note
                            Alias summons to be issued when return for original summons 21-SMCC-284 is filed with the Court.

         07/01/2021       Ll Alias Sum mons Requested
                             Request for Alias Summons.
                                Filed By: TOM ALBERT KAPSTROM
                                On Behalf Of: SHELLEY BRYANT

         04/23/2021       0 Summons Issued-Circuit
                            Document ID: 21-SMCC-284, for WAL-MART STORES EAST, LP. SUMMONS ATTACHED IN PDF
                            FORM FOR ATTORNEY TO RETRIEVE FROM SECURE CASE NET AND ATTACH COPY OF
                            PETITION FOR SERVICE BY SHERIFF.
                          U Case Review Scheduled
                            Case set for review. No appearance necessary. If no filings or pleadings filed within 6 months prior to
                            the case review, case will be set for dismissal hearing approximately 60 days out, or the next
                            Law/Motion Day Docket. Clerk will notify the pro se parties of the dismissal hearing by mail if service
                            has been acquired and counsel will be notified by e-notice.
                               Scheduled For: 03/25/2022; 4:00 PM ; DAVID ALLEN COLE; Stone



                          Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 1 of 13
1 of2                                                                                                                            16/2021, 8:54 AM
Case.net: 21SN-CC00077 - Docket Entries                                               https://www.courts.mo.gov/casenet/cases/searchDockets.do



         04/22/2021      ❑ Request for Jury Trial Filed
                           Request for Jury Trial made in Petition.
                         ❑ Filing Info Sheet eFiling
                              Filed By: TOM ALBERT KAPSTROM
                         ❑ Pet Filed in Circuit Ct
                           Petition for Damages.
                              Filed By: TOM ALBERT KAPSTROM
                              On Behalf Of: SHELLEY BRYANT
                         D Judge Assigned
         Case.net Version 5.14.19                             Return to Top_of Page                               Released 07/15/2021




                         Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 2 of 13
2 of 2                                                                                                                     8/16/2021, 8:54 AM
                                                                            21SN-CC00077

              IN THE CIRCUIT COURT OF STONE COUNTY,MISSOURI


SHELLEY BRYANT,
c/o SPRINGFIELD INJURY LAW,PC
3100 S. National Ave., Suite 101
Springfield, Missouri 65807

                      Plaintiff,

vs.                                                 Case No.

WAL-MART STORES EAST,LP
    Serve at:
    CT Corporation System
    120 South Central Ave.
    Clayton, Missouri 63105

and

JANE DOE CASHIER

                      Defendants.

                                   PETITION FOR DAMAGES
                                      Jury Trial Requested

       COMES NOW Plaintiff Shelley Bryant, by and through her attorneys Springfield Injury

Law, PC, and for her cause of action against Defendant Wal-Mart Stores EAST, LP, states and

alleges as follows:

         1.    Plaintiff Shelley Bryant (hereinafter "Ms. Bryant") has been, at all relevant times,

a resident of Christian County, Missouri.

         2.    Defendant Wal-Mart Stores East, LP,(hereinafter "Wal-Mart") is a Delaware for-

profit corporation, with its principal place of business in Bentonville, Arkansas and with

authority to do business in the State of Missouri, with the following registered agent and

registered address: CT Corporation System, 120 South Central Avenue, Clayton, Missouri

63150.




      Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 3 of 13
       3.      Defendant Jane Doe's (hereinafter "Jane Doe") exact identity is presently

unknown, but the identity of Defendant Jane Doe will be substituted at such time as it becomes

known to plaintiff through the course of discovery.

       4.      Upon information and belief, Jane Doe has been, at all relevant times, a resident

of Stone County, Missouri.

       5.      Plaintiff was first injured in Stone County, Missouri. Accordingly, the venue is

proper in Stone County, Missouri under R.S. Mo. § 508.010.

       6.      Wal-Mart operates a retail and discount store at Store #2175, located at 18401

MO-13, Branson West, Missouri 65737 (hereinafter "Store").

       7.      On or about October 27, 2016, as an invitee, Ms. Bryant was shopping for

groceries in the store.

       8.       Ms. Bryant placed the items she was purchasing on the check out conveyor and

proceeded to stand next to the bagging area as Jane Doe, the employee of Defendant, scanned

and bagged Ms. Bryant's items.

       9.       While the Jane Doe was in the process of scanning and bagging Ms. Bryant's

items, Jane Doe knocked a large heavy can of soup off of the checking counter and directly onto

Ms. Bryant's foot.

        10.     Jane Doe was negligent as follows:

               (a)        She failed to follow Wal-Mart's safety policies regarding the scanning and

bagging of items on or about the check out-counter.

               (b)        She carelessly, and without warning, knocked the heavy can of soup off of

the counter and directly onto plaintiff's foot.

        1 1.    As a result of Jane Doe's negligence, Ms. Bryant sustained the following:




                                                   2
      Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 4 of 13
-




                  (a) Injury to her right foot;

                  (b) Compartmentalized Regional Pain Syndrome;

                  (c) Expenses for future medical care and treatment;

                  (d) Emotional upset, anxiety, pain and suffering.

           12.     At the time of the incident referred to above, Jane Doe was employed by Wal-

    Mart and was acting in the course and scope of her employment with Wal-Mart, and in the

    furtherance of Wal-Mart's business interest.

           13.     Defendant Wal-Mart was negligent as follows:

                  (a)     It failed to properly train Jane Doe in the safety procedures regarding the

    scanning and bagging of items on or about the check-out counter;

                  (b)     It failed to properly supervise Jane Doe to ensure Jane Doe was following

    all of Wal-Marts safety procedures regarding the scanning and bagging of items on or about the

    check-out counter;

                  (c)     It failed to have adeqUate safety baricades in place at the check-out

    counter to prevent items from being knocked off of the counter and injuring customers;

                  (d)     It failed to have adequate warning signs about the lack of a safety

    barricade at the check-out counter.

            14.    As a result of Wal-Mart's negligence, Ms. Bryant sustained the following:

                  (a) Injury to her right foot;

                  (b) Compartmentalized Regional Pain Syndrome;

                  (c) Expenses for future medical care and treatment;

                  (d) Emotional upset, anxiety, pain and suffering.




          Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 5 of 13
  1   ••




           WHEREFORE, Plaintiff Shelley Bryant requests judgment in her favor against Jane Doe

and Wal-Mart Stores East, LP, for damages as are fair and reasonable, for her costs herein

expended, with lawful post-judgment interest on the full judgment until      in full, and for such

other and further relief as the Court may deem just and fair under the circumstances.

                                             Respectfully Submitted,

                                             SPRINGFIELD INJURY LAW

                                             By: /s/ Tom A. Kapstrom
                                                Tom A. Kapstrom, MO Bar #65555
                                                Attorneys for Plaintiff
                                                3100 S. National Ave., Suite 101
                                                Springfield, MO 65807
                                                Telephone:(417)877-0697
                                                Facsimile:(888) 545-1573
                                                Email: tom@springfieldinjury.com




           Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 6 of 13
              IN THE 39TH JUDICIAL CIRCUIT, STONE COUNTY, MISSOURI

Judge or Division:                                            Case Number: 21SN-CC00077
DAVID ALLEN COLE
Plaintiff/Petitioner:                                      Plaintiff's/Petitioner's Attorney/Address
SHELLEY BRYANT                                             TOM ALBERT KAPSTROM
                                                           3100 SOUTH NATIONAL AVE.
                                                           SUITE 101
                                                       vs. SPRINGFIELD, MO 65807
Defendant/Respondent:                                      Court Address:
WAL-MART STORES EAST, LP                                   1 10 F SOUTH MAPLE
Nature of Suit:                                            P 0 BOX 18
CC Pers Injury-Other                                       GALENA, MO 65656                                                  (Date File Stamp)
                                                      Summons in Civil Case
 The State of Missouri to: WAL-MART STORES EAST, LP
                           Alias:
 CT CORPORATION SYSTEM
 120 S CENTRAL AVE
 CLAYTON, MO 63105
      COURT SEAL OF                 You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading,judgment by default may
                                    be taken against you for the relief demanded in the petition.

          STONE COUNTY                         04/23/2021                                         /s/Paula Ahnert
                                                       Date                                                  Clerk
                                    Further Information:
                                                Sheriff's or Server's Return
    Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
    I certify that I have served the above summons by: (check one)
    0 delivering a copy of the summons and a copy of the petition to the defendant/respondent.
    0leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
                                                                     , a person of the defendant's/respondent's family over the age of
          15 years who permanently resides with the defendant/respondent.
    0(for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
                                                               (name)                                                           (title).
    p other:

    Served at                                                                                                                         (address)
     in                                         (County/City of St. Louis), MO, on                               (date) at                (time).


                     Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                 Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on                                               (date).
            (Seal)
                                  My commission expires:
                                                                      Date                                       Notary Public
  Sheriff's Fees, if applicable
  Summons
  Non Est
  Sheriff's Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                                                  miles @ $.        per mile)
  Total
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.


OSCA (06-18) SM30(SMCC)For Court Use Only: Document Id # 21-SMCC-284                 1 of 1             Civil Procedure Form No. 1; Rules 54.01 — 54.05,
                                                                                                54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
                      Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 7 of 13
                                          SPRINGFIELD
                                          I NJURY LAW

                                             July 1, 2021

Ms. Mariah Rapp
CIRCUIT CLERK OF STONE COUNTY
1 10 F South Maple
P.O. Box 18
Galena, MO 65656


       Re:    Shelley Bryant v Wal-Mart Stores East, LP
              Stone County Case No.: 21SN-CC00077
              Request for Alias Summons — Defendant Wal-Mart Stores East, LP


Dear Ms. Rapp:

        We respectfully request that you issue an Alias Summons in the above-referenced matter
as to Defendant Wal-Mart Stores East, LP.

       Wal-Mart Stores East, LP service address is:

       Walmart Stores East, LP
       c/o CT Corporation System
       120 South Central Avenue
       Clayton, Missouri 63105

       Thank you for your attention to this matter. As always, please feel free to contact the
undersigned with any questions or concerns.

                                                Sincerely,

                                               /s/Tom A. Kapstrom

                                                TOM A. KAPSTROM,ESQ.
                                                  si springfieldinjury.com
                                                tor


TAK\vcb




                         1531 E. Bradford Parkway, Suite 320 • Springfield, MO 65804
                   Office: 417.877.0697 I Fax: 888.545.1573 I www.springfieldinjury.com
       Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 8 of 13
             IN THE 39TH JUDICIAL CIRCUIT, STONE COUNTY, MISSOURI

Judge or Division:                                            Case Number: 21SN-CC00077
DAVID ALLEN COLE
Plaintiff/Petitioner:                                     Plaintiff's/Petitioner's Attorney/Address
SHELLEY BRYANT                                            TOM ALBERT KAPSTROM
                                                          3100 SOUTH NATIONAL AVE.
                                                          SUITE 101
                                                      vs. SPRINGFIELD, MO 65807
Defendant/Respondent:                                     Court Address:
WAL-MART STORES EAST, LP                                  110 F SOUTH MAPLE
Nature of Suit:                                           P 0 BOX 18
CC Pam Injury-Other                                       GALENA, MO 65656
                                                                                                                            (Date File Stamp)
                                                     Summons in Civil Case
 The State of Missouri to: WAL-MART STORES EAST, LP
                           Alias:
 CT CORPORATION SYSTEM
 120 S CENTRAL AVE
 CLAYTON, MO 63105
      COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading,judgment by default may
                                   be taken against you for the relief demanded in the petition.

         STONE COUNTY                         04/23/2021                                          /s/Paula Ahnert
                                                       Date                                                  Clerk
                                    Further Information:
                                                         Sheriff's or Server's Return
    Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.'
    I certify that I have served the above summons by:(check one)
    0 delivering a copy of the summons and a copy of the petition to the defendant/respondent.                   .t
    0leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendan
                                                                     , a person of the defendant's/respondent'Vamil
          15 years who permanently resides with the defendant/respondent.
    0(for service on a corporation)delivering a copy of the summons and a copy of the complaint to:
                                                               (name)
    0other:

    Served at                                                                                                                        ”caddress)
    in                                         (County/City of St. Louis), MO, on                               (date)               Co   (time).


                    Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                M ust be sworn before a notary public if not served by an authorized officer:
                                Subscribed and sworn to before me on                                                (date).
           (Seal)
                                 My commission expires:
                                                                     Date                                        No ary Public
  Sheriff's Fees, if applicable
  Summons
  Non Est
  Sheriff's Deputy Salary
  Supplemental Surcharge        $    10.00
  Mileage                                                  miles @           per mile)
  Total
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.


OSCA (06-18)SM30(SMCC)For Court Use Only: Document Id it 21-SMCC-284                 1 of 1             Civil Procedure Form No. 1; Rules 54.01 -o4.05
                                                                                                54.13, and 54.20; 506.120 - 506.140, and 506.150 RSMo




              Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 9 of 13
             IN THE 39TH JUDICIAL CIRCUIT, STONE COUNTY, MISSOURI

Judge or Division:                                           Case Number: 21SN-CC00077
DAVID ALLEN COLE
Plaintiff/Petitioner:                                     Plaintiff's/Petitioner's Attorney/Address
SHELLEY BRYANT                                            TOM ALBERT KAPSTROM
                                                          3100 SOUTH NATIONAL AVE.
                                                          SUITE 101
                                                      vs. SPRINGFIELD, MO 65807
Defendant/Respondent:                                     Court Address:
WAL-MART STORES EAST, LP                                  110 F SOUTH MAPLE
                                                          P 0 BOX 18
Nature of Suit:
CC Pers Injury-Other                                      GALENA, MO 65656
                                                                                                                            (Date File Stamp)
                                                     Summons in Civil Case
 The State of Missouri to: WAL-MART STORES EAST, LP
                           Alias:
 CT CORPORATION SYSTEM
 120 S CENTRAL AVE
 CLAYTON, MO 63105
                                30(1-c-ca-
      COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
           o\P'10
            xr                     copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading,judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                                                                                                                                     tri
         STONE COUNTY                        04/23/2021                                          /s/Paula Ahnert
                                                      Date                                                  Clerk
                                   Further Information:
                                                        Sheriff's or Server's Return
    Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
    I certify that I have served the above summons by:(check one)
                                                                                                                   (1)
    C
    ]   delivering a copy of the summons and a copy of the petition to the defendant/respondent.
        leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defefi,dan respend t With
                                                                       , a person of the defendant's/respondent'sJamil •Ver:tt ageof
          15 years who permanently resides with the defendant/respondent.
       (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:                           „;i
                                                                                                                                  —
                                                                 (name)                                                        (qt.H.
        other:

    Served at
    in                                         (County/City of St. Louis), MO, on                               (date) at           CO   (time).


                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                Subscribed and sworn to before me on                                               (date).
           (Seat)
                                 My commission expires:
                                                                     Date                                       Notary Public
  Sheriff's Fees, if applicable
  Summons
  Non Est
  Sheriff's Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                                                  miles @ $.        per mile)
  Total
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.


OSCA (06-18)SM30(SMCC)For Court Use Only: Document Id 21-SMCC-284                   1 m1               Civil Procedure Form No. 1; Rules 54.01 - 54.05,
                                                                                               54.13, and 54.20; 506.120 - 506.140, and 506.150 RSMo




             Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 10 of 13
             IN THE 39TH JUDICIAL CIRCUIT, STONE COUNTY, MISSOURI

Judge or Division:                                             Case Number: 21SN-CC00077
DAVID ALLEN COLE
Plaintiff/Petitioner:                                     Plaintiff's/Petitioner's Attorney/Address
SHELLEY BRYANT                                            TOM ALBERT KAPSTROM
                                                          1531 EAST BRADFORD PARKWAY
                                                      vs. SPRINGFIELD, MO 65804
Defendant/Respondent:                                     Court Address:
WAL-MART STORES EAST, LP                                  110 F SOUTH MAPLE
                                                          P 0 BOX 18
Nature of Suit:
                                                          GALENA, MO 65656                                                    (Date File Stamp)
CC Pers Injury-Other
                                                Alias Summons in Civil Case
 The State of Missouri to: WAL-MART STORES EAST, LP
                           Alias:
 CT CORPORATION SYSTEM
 120 S CENTRAL AVE
 CLAYTON, MO 63105
      COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
           oRT                     copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading,judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                               July 12, 2021                                 /s/Misty Smith, Deputy Clerk
         STONE COUNTY                                  Date                                                    Clerk
                                   Further Information:
                                                         Sheriff's or Server's Return
   Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
   I certify that I have served the above summons by:(check one)
   0 delivering a copy of the summons and a copy of the petition to the defendant/respondent.
   0leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
                                                                    , a person of the defendant's/respondent's family over the age of
         15 years who permanently resides with the defendant/respondent.
   0(for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
                                                              (name)                                                           (title).
    0 other:

    Served at                                                                                                                         (address)
    in                                         (County/City of St. Louis), MO, on                                 (date) at                (time).


                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                Subscribed and sworn to before me on                                               (date).
           (Seal)
                                 M y commission expires:
                                                                     Date                                          Notary Public
  Sheriff's Fees, if applicable
  Summons
  Non Est
  Sheriff's Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                                                  miles @ $.        per mile)
  Total
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30(SMCC)For Court Use Only: Document Id # 21-SMCC-479                1 of 1               Civil Procedure Form No. 1; Rules 54.01 — 54.05,
                                                                                                 54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
                    Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 11 of 13
                                                                                                                                                            "d;

             IN THE 39TH UDICIAL CIRCUIT, STONE COUNTY, MISSOURI

Judge or Division:                                              Case Number: 21SN-CC00077
                                                                                                                                 B6                        5^




DAVID ALLEN COLE
Plaintiff/Petitioner:                                       Plaintiffs/Petitioner's Attorney/Address
                                                                                                                                 f      3
                                                                                                                                        1

SHELLEY BRYANT                                              TOM ALBERT KAPSTROM
                                                            1531 EAST BRADFORD PARKWAY                                                                     6"
                                                        vs. SPRINGFIELD, MO 65804
Defendant/Respondent:                                       Court Address:
WAL-MART STORES EAST, LP                                    110 F SOUTH MAPLE
Nature of Suit:                                             P 0 BOX 18
CC Pers Injury-Other                                        GALENA, MO 65656                                                     (Date File Stamp)
                                                  Alias Summons in Civil Case
 The State of Missouri to: WAL-MART STORES EAST, LP
                           Alias: le)
 CT CORPORATION SYSTEM
 120 S CENTRAL AVE
 CLAYTON, MO 63105
      COURT SEAL. OF                 You are summoned to appear before this court and to file your pleading to the petition, a
           URI'0                     copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                     plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                     exclusive of the day of service. If you fail to file your pleading,judgment by default may
                                     be taken against you for the relief demanded in the petition.
                                                                                                                                 r

                                                July 12, 2021                                 is/Misty Smith, Deputy Cdiark.-,
      STONE COUNTY                                      Date                                                    Clerk       -•
                                     Further Information:
                                                          Sheriff's or Server's Return
Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.`
                                                                                                       e.-')
I certify that I have served the above summons by:(check one)
0 delivering a copy of the summons and a copy of the petition to the defendant/respondent.
0leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defgndani);'esponcipit with
                                                                 , a person of the defendant's/respondenr,s ftamily ver the age of
      15 years who permanently resides with the defendant/respondent.
   (for service owkrportionl limicAa copy of the summons and a copy of the comp
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                                        —,...
                                            .              (name)
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    0
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/   other:

     Served at                 OT CORPORATO                                                                                               (address)
            St LOUIS county                                                       opJUL 2 1 i                       (daig) at '      ,9 Alt (time).
     in
                                            Ai
                                                (County/City of St. Louis), MO,

                                                                                          ...".,  ?1
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                    kitiTITNAie o ESheriff o Server
                                   st be sworn before a no public if not served by               r
                                                                                                 orize
                                                                                                          Ignatur
                                                                                                           ffice
                                                                                                                      Sheriff or Sery

                                Subscribed and sworn td efore me on                                                      (date).
           (Sea!)
                                    My commission expires:
                                                                      Date                                           Notary Public
   Sheriff's Fees, if applicable
   Summons
   Non Est
   Sheriffs Deputy Salary
   Supplemental Surcharge        $   10.00
   Mileage                                                  miles @ $.        per mile)
   Total
   A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
   classes of suits, see Supreme Court Rule 54.



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OSCA (06.18) SM30(SMCC) For Court Use Only: Document Id # 21-SMC -479                1 of 1               Civil Procedure Form No. 1; Rules 5      4`05,
                                                                                                  54.13, and 54.20; 506.120 - 506.140, and 56.150 RSMo
                 Case 3:21-cv-05068-LMC Document 1-1 Filed 08/17/21 Page 12 of 13
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             IN THE 39TH           DICIAL CIRCUIT, STONE COUNTY, MISSOURI

Judge or Division:                                          Case Number: 21SN-CC00077
DAVID ALLEN COLE
Plaintiff/Petitioner:                                  Plaintiff's/Petitioner's Attorney/Address
SHELLEY BRYANT                                         TOM ALBERT KAPSTRQM
                                                       1531 EAST BRADFORD PARKWAY
                                                   vs. SPRINGFIELD, MO 65804
Defendant/Respondent:                                  Court Address:
WAL-MART STORES EAST, LP                               110 F SOUTH MAPLE
Nature of Suit:                                        P 0 BOX 18
CC Pers In.ur -Other                                   GALENA, MO 65656                                                     Date File Stoma
                                             Alias Summons in Civil Case
 The State of Missouri to: WAL-MART STORES EAST, LP
                           Alias:
 CT CORPORATION SYSTEM
 120 S CENTRAL AVE                      Cje ` Or"
                                              r
 CLAYTON, MO 63105
      COURT SEAL OF             You are summoned to appear before this court and to file your pleading to the petition, a
                                copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                exclusive of the day of service. If you fail to file your pleading,judgment by default may
                                be taken against you for the relief demanded in the petition.
                                                                                                                          TJ
                                                                                                                          hJ
                                            July 12, 2021                              /s/Misty Smith, Deputy Clerk.'
       STONE COUNTY                                                                                      Clerk -7.7
                                                    Date
                                                                                                               .11
                                Further Information:
                                                      Sheriff's or Server's Return
 Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
 I certify that I have served the above summons by:(check one)                                                  —0
❑ delivering a copy of the summons and a copy of the petition to the defendant/respondent.
ID leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defetrdantgespondgnt with
                                                                 , a person of the defendants/respondenCsfami ver the age of
       15 years who permanently resides with the defendant/respondent.
    (for service oorforbon6Nlitng,a copy of the summons and a copy of the comolaklt_to.
                                   " %,"                    (name)                    IN        SPECIALIST                (title).
/CI other:                                                                              Y',
                                                                                         .

     Served at              CT CORPORATION                                                                                         (address)
     in      t Louis county
            S.                                                            0,,juL
                                            (County/City of St. Louis), MO,                   2
                                                                                              x
                                                                                                               oat)
                                                                                                                 e               An (time).

                                    ,L IAA
                             e o She iff o Server                                                  lignatur•   Sheriff or Sery
                                  t be sworn before a no public if not served by           orize    ffice
                              Subscribed and sworn t efore me on                                                  (date).
          (Seal)
                              My commission expires:
                                                                  Date                                         Notary Public
   Sheriff's Fees, if applicable
   Summons
   Non Est
   Sheriffs Deputy Salary
   Supplemental Surcharge        $   10.00
   Mileage                                                  miles @ $.        per mile)
   Total
   A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
   classes of suits, see Supreme Court Rule 54.



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                                                                                       1.109,
OSCA (06-18) SM30(SMCC) For Court Use Only. Document Id # 21-SMC -479         1 of 1               Civil Procedure Form No. 1; Rules 5 1-y54`05,
                                                                                           54.13, and 54.20; 506.120 - 506.140, and 56.150 RSMo
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